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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

        In re:
                                                                         Chapter 11
        MAMMOET-STARNETH LLC,
                                                                         Case No. 17-12925 (LSS)
                                  Debtor.1
                                                                         Docket Ref. Nos. 6, 84, 98




                NEW YORK WHEEL OWNER LLC’S SUPPLEMENTAL BRIEF IN SUPPORT OF
                          OBJECTION TO DEBTOR’S REJECTION MOTION


                  New York Wheel Owner LLC (“NYW”) by its undersigned counsel, hereby submits this

         supplemental brief (this “Supplemental Brief”) in support of its objection [D.I. 84]

         (the “Objection”)2 to the Debtor’s First Motion for an Order Authorizing and Approving

         Rejection of Certain Executory Contracts Effective Nunc Pro Tunc to the Petition Date [D.I. 6]

         (the “Contracts Motion”) filed by the above-captioned Debtor.

                                                       BACKGROUND

                   1.     On December 13, 2017, the Debtor filed the Contracts Motion, seeking to reject

         all of its manufacturing contracts (collectively, the “Contracts”) with its existing subcontractors

         (collectively, the “Subcontractors”).

                   2.     On January 3, 2018, NYW filed its Objection.3




          1 The last four digits of the Debtor’s federal tax identification number are 4518. The Debtor’s address is 2711
            Centerville Road, Suite 400, Wilmington, Delaware 19808.

          2 Capitalized terms not otherwise defined herein shall have the meanings given to them in the Objection.

          3 Further factual background can be found in NYW’s Objection.
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                  3.      On January 5, 2018, the Debtor filed a response to the Objection in its Omnibus

         Response to NYW’s Objections to Matters Scheduled for Hearing on January 8, 2018 (the

         “Response”) [D.I. 98].

                  4.      On January 8, 2018, the Court held a hearing on, inter alia, the Debtor’s Contracts

         Motion (the “Hearing”).4 NYW argued that the Contracts Motion should either be denied or the

         Hearing should be adjourned. The Court adjourned the Hearing and ultimately scheduled the

         Hearing on March 5, 2018.

                  5.      At the Hearing, the Court requested that, in advance of the adjourned Hearing, the

         Debtor provide all Contracts to NYW and to file the Contracts under seal; the Debtor agreed to

         do so. Hr’g Tr. 69:18-70:5. However, it was not until the afternoon of February 28, 2018,

         during the parties’ scheduled mediation, that the Debtor a thumb drive to NYW supposedly

         including all the Contracts. NYW has not had sufficient time to review the documents included

         on that thumb drive. Further, to NYW’s knowledge, the Contracts have not been filed under seal

         with the Court.

                  6.      Additionally, at the Hearing, the Court invited NYW to submit supplemental

         briefing on certain other issues raised at the Hearing. To that end, this Supplemental Brief

         discusses (i) whether any indemnity claims under the Contracts would be prepetition or

         postpetition obligations of the Debtor and (ii) whether the business judgment standard or a

         heightened standard would apply to the Debtor’s request to reject the Contracts.




          4 A copy of the Hearing transcript is attached hereto as Exhibit A.
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                                                   DISCUSSION

         I.     Indemnity Claims, Which May Be Asserted Against the Debtor in the Future
                Pursuant to Prepetition Contracts, Are “Claims” Within the Meaning of Section
                101(5) of the Bankruptcy Code

                7.      In its Response, the Debtor argued that some of the Contracts provide that “both

         parties [are] to be liable and to indemnify the other party for claims of third parties caused by the

         causing party,” and “every day such contract remained unrejected, the Debtor’s estate is exposed

         to unquantifiable potential liability based on potential postpetition indemnification claims, which

         could substantially increase administrative claims against the Debtor’s estate.” Resp. ¶ 58. The

         Debtor’s assertion is unsupported and contrary to established Third Circuit law.

                8.      “The Bankruptcy Code . . . defines a ‘claim’ as ‘[a] right to payment, whether or

         not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,

         unmatured, disputed, undisputed, legal, equitable, secured, or unsecured . . . .’” Jeld-Wen, Inc. v.

         Van Brunt (In re Grossman’s Inc.), 607 F.3d 114, 121 (3d Cir. 2010) (quoting 11 U.S.C.

         § 101(5)) (emphasis omitted). And the Third Circuit has made clear that “a ‘claim’ arises when

         an individual is exposed pre-petition to a product or other conduct giving rise to an injury, which

         underlies a ‘right to payment’ under the Bankruptcy Code.” Id. at 125.

                9.      With respect to indemnification claims, courts have “[c]onsistently . . . held that

         an indemnification claim based upon pre-petition services or conduct is” nothing more than “a

         form of prepetition compensation for services that compensation for services that is not entitled

         to administrative expense priority.” In re Summit Metals, Inc., 379 B.R. 40, 56 (Bankr. D. Del.

         2007), aff’d 406 F. App’x 634 (3d Cir. 2011) (emphasis added) (collecting cases); see also In re

         Superior Air Parts, Inc., 486 B.R. 728, 739 (Bankr. N.D. Tex. 2012), aff’d sub nom. Lycoming

         Engines v. Superior Air Parts, Inc., 2014 WL 1976757 (N.D. Tex. May 15, 2014) (“[A] right to

         indemnification is a pre-petition ‘claim’ under the Bankruptcy Code where the indemnification
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         agreement is executed pre-petition, even if the facts giving rise to actual liability did not occur

         until after the discharge.”); In re Pinnacle Brands, Inc., 259 B.R. 46, 51 (Bankr. D. Del. 2001)

         (refusing to grant administrative status to applicant’s indemnification claim arising from a

         contract executed prepetition); In re Mid–American Waste Sys., Inc., 228 B.R. 816, 821 (Bankr.

         D. Del. 1999) (declining to grant administrative expense status for indemnification claims arising

         from securities litigation because it arose prepetition out of the applicants’ pre-petition conduct);

         Houbigant, Inc. v. ACB Mercantile, Inc. (In re Houbigant, Inc.), 188 B.R. 347, 359

         (Bankr.S.D.N.Y.1995) (finding that because an agreement was executed prepetition, any

         contractual right to indemnification arising from that agreement would only be a prepetition

         unsecured claim); In re Philadelphia Mortg. Tr., 117 B.R. 820, 828 (Bankr. E.D. Pa. 1990)

         (“Claims based upon pre-petition conduct . . . have consistently been disallowed administrative

         status because administrative claims must arise post-petition.”).

                10.     Therefore, even if some or all of the Contracts include an indemnification

         provision, such potential indemnification liability would only give rise to prepetition unsecured

         “claims” under section 101(5) of the Bankruptcy Code, and the estate would not be exposed to a

         growing “unquantifiable” administrative expense liability for “every day such contract[s]

         remain[] unrejected,” as the Debtor contends.

         II.    The Business Judgment Standard Does Not Apply to the Debtor’s Request to Reject
                the Contracts

                11.     “The usual test for rejection of an executory contract is simply whether rejection

         would benefit the estate, the ‘business judgment’ test.” Nat’l Labor Relations Bd. v. Bildisco &

         Bildisco (In re Bildisco), 682 F.2d 72, 79 (3d Cir. 1982) (emphasis added), aff’d 465 U.S. 513

         (1984). Under the facts in this case, however, the Court should apply a heightened standard of

         scrutiny.

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                 12.     Courts have recognized that applying “the heightened scrutiny/entire fairness

         standard,” which “closely examines transactions involving insiders” may be appropriate when a

         debtor’s decision to assume or reject an agreement under section 365 of the Bankruptcy Code

         involves an insider. In re Innkeepers USA Trust, 442 B.R. 227, 231 (Bankr. S.D.N.Y. 2010).

                 13.     In Inkeepers USA Trust, the court denied a the debtor’s motion to assume a plan

         support agreement because the debtor had not acted in good faith and the plan support agreement

         conferred inappropriate benefits on the debtor’s parent. Id. at 233-34. Although the court agreed

         that a “heightened scrutiny/entire fairness” standard may apply, it ultimately did not decide the

         applicable standard because the debtor failed to meet even a business judgment standard based

         on its bad faith. Id. at 231.

                 14.     Other courts have agreed that a heightened standard of review is appropriate in

         bankruptcy when insiders are involved or will benefit from the debtor’s proposed action. See,

         e.g., Westship, Inc. v. Trident Shipworks, Inc., 247 B.R. 856, 865-66 (M.D. Fla. 2000) (holding

         that “it was prudent of the Bankruptcy Court” to apply heightened scrutiny in approving the

         assumption of an agreement with an alleged insider); In re Bidermann Indus. U.S.A., Inc., 203

         B.R. 547, 551 (Bankr. S.D.N.Y. 1997) (holding that sales to insiders are “subjected to heightened

         scrutiny because they are rife with the possibility of abuse”) (citation omitted); In re Condere

         Corp., 228 B.R. 615, 632 (Bankr. S.D. Miss. 1998) (applying heightened scrutiny to sale to

         insider-controlled entity); but see In re Trans World Airlines, Inc., 261 B.R. 122 (Bankr. D. Del.

         2001) (applying business judgment standard in considering rejection motion because creditor had

         “not made out a case of bad faith or improper insider benefit”).

                 15.     In this case, there is no creditors’ committee, and there is no independent

         fiduciary–the Debtor has been, and continues to be controlled, by and for the benefit of its


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         parent, MUSA.5 It is clear that the Rejection Motion is a part of MUSA’s scheme to use this

         chapter 11 process to usurp all the Debtor’s rights while seeking to strip away all of NYW’s

         litigation rights and ability to complete the Project. Therefore, given the insider control and

         insider benefit scheme that MUSA seeks to employ, the Court should apply a heightened

         standard of review in considering the Contracts Motion. NYW submits the Debtor has not

         satisfied the heightened standard of review.

                                                       CONCLUSION

                 16.      As described above and in the Objection, the Debtor has not demonstrated that

         there a benefit to the estate of a rejection of the Contracts at this point. Therefore, the Debtor’s

         motion to reject the Contracts should be denied at this time.


                                      [Remainder of Page Intentionally Left Blank]




          5 While a CRO has been appointed, the CRO does not have independent authority and is subject to the control of
            the Debtor’s parent.
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         Dated:   March 2, 2018
                  Wilmington, Delaware     /s/ M. Blake Cleary
                                           M. Blake Cleary (No. 3614)
                                           Sean M. Beach (No. 4020)
                                           Andrew L. Magaziner (No. 5426)
                                           YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                           Rodney Square
                                           1000 North King Street
                                           Wilmington, Delaware 19801
                                           Telephone: (302) 571-6600
                                           Facsimile: (302) 571-1253
                                           mbcleary@ycst.com
                                           sbeach@ycst.com
                                           amagaziner@ycst.com

                                           -and-

                                           Michael A. Rosenthal (pro hac vice pending)
                                           David M. Feldman (admitted pro hac vice)
                                           Alan Moskowitz (pro hac vice pending)
                                           Matthew G. Bouslog (pro hac vice pending)
                                           GIBSON, DUNN & CRUTCHER LLP
                                           200 Park Avenue
                                           New York, New York 10166-0193
                                           Telephone: (212) 351-4000
                                           Facsimile: (212) 351-4035
                                           mrosenthal@gibsonunn.com
                                           dfeldman@gibsondunn.com
                                           achampion@gibsondunn.com
                                           pkremer@gibsondunn.com
                                           mbouslog@gibsondunn.com




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                                     Exhibit A


                                    Hearing Transcript




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                        In The Matter Of:
                      Mammoet-Starneth, LLC




             Transcript of Electronic Recording
                      January 8, 2018




               Wilcox & Fetzer, Ltd.
                 1330 King Street
              Wilmington, DE 19801
   email: depos@wilfet.com, web: www.wilfet.com
     phone: 302-655-0477, fax: 302-655-0497




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          IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE DISTRICT OF DELAWARE

In re:                             )    Chapter 11
                                   )
MAMMOET-STARNETH, LLC,             )    Case No. 17-12925 (LSS)
                                   )
                 Debtor.           )
                                        Wilmington, Delaware
                                        January 8, 2018
                                        2:02 p.m.



            TRANSCRIPT OF AN ELECTRONIC RECORDING
         BEFORE THE HONORABLE LAURIE SELBER SILVERSTEIN
               UNITED STATES BANKRUPTCY JUDGE

                           OMNIBUS HEARING

APPEARANCES:

For the Debtors               JASON M. MADRON, ESQ.
                              JOSEPH C. BARSALONA, II, ESQ.
                              RICHARDS LAYTON & FINGER, P.A.
                                     -and-
                              ANDREW H. SHERMAN, ESQ.
                              BORIS MANKOVETSKIY, ESQ.
                              SILLS CUMMIS & GROSS, P.C.

For New York Wheel            M. BLAKE CLEARY, ESQ.
                              ANDREW L. MAGAZINER, ESQ.
                              YOUNG CONAWAY STARGATT & TAYLOR LLP
                                     -and-
                              DAVID M. FELDMAN, ESQ.
                              MICHAEL A. ROSENTHAL, ESQ.
                              ALAN MOSKOWITZ, ESQ.
                              ANNE CHAMPION, ESQ.
                              JASON Z. GOLDSTEIN, ESQ.
                              GIBSON DUNN & CRUTCHER, LLP

For the Lender                JUSTIN R. ALBERTO, ESQ.
                              ERIN R. FAY, ESQ.
                              BAYARD, P.A.
                                      -and-
                              ROBERT E. RICHARDS, ESQ.
                              PHILIP R. WHITE, ESQ.
                              JONATHAN JEMISON, ESQ.
                              DENTONS
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 1   (APPEARANCES CONT'D:
     Telephonic Appearances:)
 2
     For the U.S. Trustee       HANNAH McCOLLUM, ESQ.
 3                              OFFICE OF THE UNITED STATES TRUSTEE

 4                              - - - - -

 5   AUDIO OPERATOR:   MICHAEL MILLER

 6   Transcribed by:            WILCOX & FETZER LTD.
                                1330 King Street
 7                              Wilmington, Delaware          19801
                                302-655-0477
 8                              www.wilfet.com

 9          Proceedings recorded by electronic sound recording.

10   Transcript produced by transcriptionist.

11                               - - - - -

12          THE COURT:     Please be seated.

13          MR. MADRON:     Good afternoon, Your Honor.               For the

14   record, Jason Madron of Richards, Layton & Finger on behalf of

15   Mammoet-Starneth, LLC, a Chapter 11 debtor.

16          Your Honor, I'm joined in the courtroom today by my

17   co-counsel, Andrew Sherman and Boris Mankovetskiy, of Sills

18   Cummis & Gross.

19          Also in the courtroom, Your Honor, is Christiaan

20   Lavooij, the manager of the debtor, as well as William

21   Henrich, who is the debtor's proposed CRO.

22          Your Honor, if I may, I'll just proceed from the form

23   of agenda that we filed last Thursday.           Agenda items 1 and 2

24   are continued matters.     This was our bid procedures motion, as

25   well as our solicitation procedures motion.             Those matters
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 1           MR. MADRON:      If acceptable to Your Honor, we will, you

 2   know, provide a clean and redline copy of that order --

 3           THE COURT:      Yes, that would be fine.

 4           MR. MADRON:      -- to opposing counsel and we'll submit

 5   that under certification of counsel later this week.

 6           And then lastly, as a housekeeping matter, along with

 7   our reply that we filed on Friday, we did file a motion for

 8   leave seeking to file that out of time.             I do have a proposed

 9   form of order granting that ex parte motion, if I may approach

10   with that.

11           THE COURT:      Yes.

12           MR. MADRON:      And we appreciate Your Honor's indulgence

13   in granting that motion and considering our reply papers.

14           THE COURT:      That's fine.

15           MR. MADRON:      And other than that, I believe we will

16   see Your Honor on the 25th.

17           THE COURT:      Mr. Sherman has something.

18           MR. SHERMAN:      Thank you, Your Honor.           I heard Your

19   Honor's statement about the contracts, and we'd be happy to

20   get them to you.      As Mr. Feldman alluded to earlier, they do

21   have confidentiality restrictions.           Would the Court consider a

22   sealing order so we can provide them to the Court and --

23           THE COURT:      Yes.

24           MR. SHERMAN:      Okay.     We will work with Mr. Madron,

25   have that submitted.
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 1           MS. CHAMPION:     Yes, we'll talk afterwards.            But we're

 2   not sure we have that --

 3           MR. SHERMAN:    We're happy to get -- if they don't have

 4   them, they will have them, the Court will have them all in

 5   time for the 25th.

 6           THE COURT:    Okay.     Anything else?

 7           MR. SHERMAN:    As far as the DIP order, Your Honor, I

 8   think we'll -- I think we'll circulate it.

 9           THE COURT:    That needs to be revised and in accordance

10   with my ruling and then you can submit that under

11   certification.

12           MR. SHERMAN:    Thank you, Judge.

13           THE COURT:    Thank you.      We're adjourned.

14           ALL COUNSEL:    Thank you.

15           (The hearing adjourned at 3:47 p.m.)

16                    C E R T I F I C A T I O N

17           I, Julie H. Parrack, transcriber, certify that the
     foregoing is a correct transcript, to the best of my ability,
18   from the official electronic sound recording of the
     proceedings in the above-entitled matter.
19
     /s/Julie H. Parrack             January 9, 2018
20   Julie H. Parrack

21

22

23

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